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                                                                  EXHIBIT D
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                                 EXHIBIT 1 – RESULTS OF THE VARIANCE TEST

Below is an excerpt from the original variance report that was finalized on July 3, 2012. The excerpt
identifies the BEL Calculation Step 1 and Step 2 results and total compensation for the Claims
Administration, BP/Compass Lexecon, and any observed variance (if applicable).
                     Per Accountant Template                    Per BP Pilot Data                                   Difference

                                         Total                                  Total                              Total          %
      Claim #    Step 1      Step 2                    Step 1       Step 2                  Step 1     Step 2                                Net Effect
                                      Compensation                           Compensation                       Compensation Difference

        1          452,286    153,998       606,283    452,286    153,998       606,283         -            -              -     0.00%     No Difference
        3          105,123      18,927      124,050    105,123      18,927      124,050         -            -              -     0.00%     No Difference
        4          563,155      55,944      619,099    563,155      55,944      619,099         -            -              -     0.00%     No Difference
        6           38,412      17,349       55,761     38,412      17,349       55,761         -            -              -     0.00%     No Difference
        7          121,011         -        121,011    121,011         -        121,011         -            -              -     0.00%     No Difference
        9           12,658         -         12,658     12,658         -         12,658         -            -              -     0.00%     No Difference
        10          54,692         -         54,692     54,692         -         54,692         -            -              -     0.00%     No Difference
        13         176,687         -        176,687    176,687         -        176,687         -            -              -     0.00%     No Difference
        16          38,093      60,541       98,634     38,093      60,541       98,634         -            -              -     0.00%     No Difference
        17         101,165         -        101,165    101,165         -        101,165         -            -              -     0.00%     No Difference
        18         112,702      36,713      149,415    112,702      36,713      149,415         -            -              -     0.00%     No Difference
        20         105,437         -        105,437    105,437         -        105,437         -            -              -     0.00%     No Difference
        24          94,078      23,303      117,381     94,078      23,303      117,381         -            -              -     0.00%     No Difference
        25          67,148         -         67,148     67,148         -         67,148         -            -              -     0.00%     No Difference
        26          44,805      27,731       72,536     44,805      27,731       72,536         -            -              -     0.00%     No Difference
        27         212,330         -        212,330    212,330         -        212,330         -            -              -     0.00%     No Difference
        28            (615)     13,962       13,348       (615)     13,962       13,348         -            -              -     0.00%     No Difference
        29          35,245      15,938       51,182     35,245      15,938       51,182         -            -              -     0.00%     No Difference
        37         232,194         -        232,194    232,194         -        232,194         -            -              -     0.00%     No Difference
        38         204,609         -        204,609    204,609         -        204,609         -            -              -     0.00%     No Difference
        40         160,129         -        160,129    160,129         -        160,129         -            -              -     0.00%     No Difference
        42          30,904      58,720       89,624     30,904      58,720       89,624         -            -              -     0.00%     No Difference
        44          58,192      62,400      120,592     58,192      62,400      120,592         -            -              -     0.00%     No Difference
        48        (393,737) 1,983,176     1,589,439   (393,737) 1,983,176     1,589,439         -            -              -     0.00%     No Difference
        53             725       1,090        1,815        725       1,090        1,815         -            -              -     0.00%     No Difference
        54          21,529      22,015       43,544     21,529      22,015       43,544         -            -              -     0.00%     No Difference
        56         699,202         -        699,202    699,202         -        699,202         -            -              -     0.00%     No Difference
        57           8,604         -          8,604      8,604         -          8,604         -            -              -     0.00%     No Difference
        58         197,386      51,202      248,588    197,386      51,202      248,588         -            -              -     0.00%     No Difference
        59         312,546      74,122      386,669    312,546      74,122      386,669         -            -              -     0.00%     No Difference
        64          70,498         -         70,498     70,498         -         70,498         -            -              -     0.00%     No Difference
        65          28,399       8,408       36,806     28,399       8,408       36,806         -            -              -     0.00%     No Difference
        67          51,497      93,795      145,292     51,497      93,795      145,292         -            -              -     0.00%     No Difference
        70          85,527         -         85,527     85,527         -         85,527         -            -              -     0.00%     No Difference
        71          44,535         -         44,535     44,535         -         44,535         -            -              -     0.00%     No Difference
        72         138,058         -        138,058    138,058         -        138,058         -            -              -     0.00%     No Difference
        73          93,545         -         93,545     93,545         -         93,545         -            -              -     0.00%     No Difference
        74          21,401    103,454       124,855     21,401    103,454       124,855         -            -              -     0.00%     No Difference
        75         199,322       4,103      203,426    199,322       4,103      203,426         -            -              -     0.00%     No Difference
        69      N/A         N/A        N/A          N/A         N/A        N/A           N/A          N/A         N/A              N/A          N/A
        11          95,124         -         95,124     94,656         -         94,656         468          -              468   0.49%       Increase
        12          34,212         -         34,212     33,634         -         33,634         578          -              578   1.72%       Increase
        19          76,428         -         76,428     71,561         -         71,561       4,867          -            4,867   6.80%       Increase
        43          46,302      27,336       73,638     46,071      27,278       73,349         231            58           289   0.39%       Increase
        46          38,435       8,720       47,155     38,172       8,713       46,885         263             7           270   0.58%       Increase
        50          27,704         -         27,704     27,522         -         27,522         182          -              182   0.66%       Increase
        51          43,898         -         43,898     42,949         -         42,949         949          -              949   2.21%       Increase
        52         127,556         -        127,556    126,770         -        126,770         786          -              786   0.62%       Increase
        60         936,826    173,184     1,110,010    936,826    172,997     1,109,823           (0)        187            187   0.02%       Increase
        62         282,614         -        282,614    282,320         -        282,320         294          -              294   0.10%       Increase
        63         237,303      67,284      304,587    237,048      67,266      304,314         255            18           273   0.09%       Increase
        66         385,117         -        385,117    383,227         -        383,227       1,890          -            1,890   0.49%       Increase
        68         178,706    230,342       409,048    176,661    230,096       406,757       2,045          246          2,291   0.56%       Increase
        15           4,058         -          4,058      9,197         -          9,197      (5,139)         -           (5,139) -55.88%      Decrease
        55           6,107         -          6,107      5,236         -          5,236         871          -              871   16.63%      Increase
        14         171,161         -        171,161    133,067         -        133,067      38,094          -           38,094   28.63%      Increase
        21           1,758         -          1,758       (140)        -           (140)      1,898          -            1,898 -1355.44%     Increase
        5        1,180,257         -      1,180,257 1,183,604          -      1,183,604      (3,347)         -           (3,347)  -0.28%      Decrease
        61         135,367         -        135,367    327,030         -        327,030    (191,663)         -         (191,663) -58.61%      Decrease
       47.1        446,230    114,354       560,584 Not performed
                                                                Not performed
                                                                           Not performed Not performedNot performed
                                                                                                                  Not performed Not performed
                                                                                                                                           Not performed
       47.2        149,850      15,145      164,995 Not performed
                                                                Not performed
                                                                           Not performed Not performedNot performed
                                                                                                                  Not performed Not performed
                                                                                                                                           Not performed
       47.3        301,349      29,302      330,651 Not performed
                                                                Not performed
                                                                           Not performed Not performedNot performed
                                                                                                                  Not performed Not performed
                                                                                                                                           Not performed
       47.4         92,894      15,827      108,720    901,614    178,054     1,079,668      88,708       (3,426)        85,282   7.90%       Increase
        8           17,363         -         17,363     18,743         -         18,743      (1,380)         -           (1,380)  -7.36%      Decrease
        2          283,612         -        283,612    285,101         -        285,101      (1,489)         -           (1,489)  -0.52%      Decrease




                                                                                                                                        EXHIBIT D(1)
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                        EXHIBIT 2 – TWO INTERPRETATIVE ISSUES

During the variance testing, there were two instances in which the Settlement Agreement
interpretation differed amongst the testing parties.

Interpretation Difference 1: Variable Payroll Calculation
Sample Claims # 11, 12, 19, 43, 46, 50, 51, 52, 60, 62, 63, 66 & 68

Pursuant to the Compensation Framework for Business Economic Loss Claims; Section I. Definitions;
Fixed and Variable Payroll Expenses:

       5. For any month with Total Payroll Expenses less than Fixed Payroll Expenses, all payroll
       costs will be considered fixed expenses.

       6. For any month with Total Payroll Expenses greater than Fixed Payroll Expenses, the
       excess amount of Total Payroll Expenses will be considered variable expenses.


While there was an agreement on the applicability of the rules stated above, the methodology utilized
to calculate the variable amount of Total Payroll Expenses differed between the two testing parties.

       Claims Administration averaged Total Payroll Expenses across all years in the Benchmark
       Period, on a monthly basis, BEFORE comparing the Fixed Payroll Expense component to each
       monthly average and then applying the applicable rule as stated in part 5 or 6, above.

       BP first deducted the Fixed Payroll Expense component from the Total Payroll Expense for
       each specific month, for each specific year in the Benchmark Period on an individual basis.
       For any month where Total Payroll Expense is less than Fixed Payroll Expenses, Variable
       Payroll Expense is assumed to zero. Then, BP averaged the calculated Variable Payroll
       Expense across the years within the Benchmark Period.

Please note that this difference only affected calculations where the Benchmark Period is the average
of 2008-2009; or the average of 2007-2009. Calculations based on a Benchmark Period of 2009 only,
were unaffected.




                                                                                     EXHIBIT D(2)
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Test Claim 51: Example of the Variable Payroll Calculation Interpretative Difference




Interpretation Difference 2: Two Month Minimum Payroll Calculation
Test Claims # 15 & 55

Pursuant to the Compensation Framework for Business Economic Loss Claims; Section I. Definitions;
Fixed and Variable Payroll Expenses:

       3. Identify the two months between May and December 2010 with the lowest Total Payroll
       Expense.
           Months in which the claimant has zero revenue, zero non-officer payroll expenses, or
              the business is closed, will be excluded from this calculation.

       4. Define "Fixed Payroll Expenses" as the average payroll expense over the two months with
       the lowest Total Payroll Expense.

The methodology utilized to calculate the Fixed Payroll Expense differed between the two testing
parties when only one month of payroll expense was provided.

       BP asserted that in cases where only one month of payroll expense was posted between May
       and December 2010, the one month of payroll expense should be deemed as "Fixed Payroll
       Expense."

       Claims Administration did not calculate any "Fixed Payroll Expense," if the two month
       threshold required under part 3, above, was not met.
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         EXHIBIT 3 – ATTENDEES FOR VARIANCE RESULTS PRESENTATION

Below is a list of attendees for the July 5, 2012 BEL Variance Testing Results Presentation. All
individuals listed either attended the meeting in person, via phone, or via WebEx.

         Plaintiff Steering Committee:
               Aaron Ahlquist            Herman, Herman, Katz, & Cotlar, LLP
               Annika Martin             Lieff Cabraser Heimann & Bernstein, LLP
               Jon Baden                 Motley Rice LLC
               John Creevy               Herman, Herman, Katz, & Cotlar, LLP
               Tommy Tommassie           Domengeaux, Wright, Roy & Edwards, L.L.C.

         BP:
               Brian Gaspardo            O'Neill & Gaspardo LLC
               Evan McKay                Compass Lexecon
               Hal Cider                 Compass Lexecon
               Keith Moskowitz           SNR Denton
               Nicholas Lawson           KPMG
               Otto Hanson               Compass Lexecon
               Renee McMahon             Charles River Associates
               Wendy Bloom               Kirkland & Ellis LLP

         Claims Administration:
              Patrick Juneau             Claims Administration
              Bob Levine                 Claims Administration
              Kirk Fisher                Claims Administration
              Danny Clavier              Claims Administration
              Scot Sherick               Claims Administration
              Philip Ollendike           Claims Administration
              Henry Mitchell             Claims Administration
              Anne Broderick             Claims Administration
              Charles Hacker             PricewaterhouseCoopers
              John Petzold               PricewaterhouseCoopers
              Emily Kent                 PricewaterhouseCoopers
              Howard Berkowitz           PricewaterhouseCoopers
              Mark Staley                Postlethwaite & Netterville
              Orran Brown                BrownGreer
              Lynn Greer                 BrownGreer
              Bill Atkinson              BrownGreer
              Lisa Buckser-Schulz        Garden City Group
              Jennifer Keough            Garden City Group




                                                                                EXHIBIT D(3)
